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HUHJBY_m Dc
IN THE UNITED STATES DISTRICT COURT ' ' '

FoR TH:-: wEsTERN DISTRICT oF TENNESSEE 05 ,
wEsTERN DIvIsIoN AUG 22 PH l" 35

 

 

U'NITED STATES OF AMERICA,
Plaintiff,
CR. NO. 03”20466~Ma

VS.

RUDY E. BELTRAN,

Defendant.

 

ORDER ON CONTIN'UANCE AND SPECIFYING PERIOD OF EXCLUDABLE DELAY

 

This cause came on for a report date on. July 22, 2005.
Defense counsel requested a Continuance of the present trial date
in order to allow for additional preparation in the case.

The Court granted the request and continued the trial to the
rotation docket beginning September 6, 2005 at 9:30 a.m., with a
report date of Friday, August 26, 2005 at 2:00 p.m.

The period from July 22, 2005 through September 16, 2005 is
excludable under 18 U.S.C. § 3161(h)(8)(B)(iv) because the
interests of justice in allowing additional time to prepare
outweigh the need for a speedy trial.

IT IS SO ORDERED this 224 day of August, 2005.

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SAMUEL H. M.AYS_. JR.
UNITED STA'I‘ES DISTRICT JUDGE

 

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with Huie 55 and/oz 3203} FHC:P on '

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Notice of Distribution

This notice confirms a copy of the document docketed as number 134 in
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Honorable Samuel Mays
US DISTRICT COURT

